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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


IN RE SUBPOENAS SERVED ON:
                                         Misc. Case No. 23-MC-00004
AMERICAN ACADEMY OF PEDIATRICS,
et al.,


AUGUST DEKKER, et al.,

            Plaintiffs,
v.                                       Northern District of Florida
                                         Case No. 4:22-cv-325-RH-MAF
JASON WEIDA, et al.,

            Defendants.

        TENDERED AMICUS BRIEF OF PLAINTIFFS AUGUST DEKKER,
           BRIT ROTHSTEIN, SUSAN DOE, AND K.F. IN SUPPORT
           OF NON-PARTY GROUPS’ JOINT MOTION TO QUASH




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                                STATEMENT OF INTEREST 1

       Amici are the plaintiffs in the underlying action Dekker v. Weida, Case No. 4:22-cv-325-

RH-MAF, currently pending before the United States District Court for the Northern District

Florida. Their lawsuit challenges Defendants’ adoption of Fla. Admin. Code R. 59G-1.050(7) (the

“Challenged Exclusion”), which prohibits Medicaid coverage of medically necessary treatments

for gender dysphoria. Amici are transgender Medicaid beneficiaries diagnosed with gender

dysphoria. Until Defendants adopted the Challenged Exclusion, the Amici’s medically necessary

treatments for their gender dysphoria had been covered by Medicaid. The Challenged Exclusion

stripped them of access to medically necessary care that has been prescribed by their treating

physicians, causing significant harm to Amici and other transgender Medicaid beneficiaries across

Florida.

       The issues before this Court are of acute concern to Amici, who stand to be directly

impacted by the Court’s ruling. In opposing the Non-Party Groups’ Joint Motion to Quash,

Defendants have made several representations of Amici’s theory of the case that are either

inaccurate or paint an incomplete picture. Amici have an interest in ensuring that the court has an

accurate understanding of the relevant issues, Amici’s theory of the case, and Defendants’ own

course of action during discovery, which undermines their arguments.




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 No counsel for any other party authored this brief, in whole or in part, and no person other than
amici curiae or its counsel made any monetary contribution to fund the preparation or submission
of this brief.


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                                       INTRODUCTION

       In adopting Fla. Admin. Code R. 59G-1.050(7) (the “Challenged Exclusion”), prohibiting

Medicaid coverage of services necessary for the treatment of gender dysphoria, Defendants

targeted transgender Medicaid beneficiaries, including Amici August Dekker, Brit Rothstein,

Susan Doe, and K.F., for unlawful discrimination. Amici brought a lawsuit in the United States

District Court for the Northern District Florida, arguing that the Challenged Exclusion violates the

Fourteenth Amendment’s Equal Protection Clause; Section 1557 of the Affordable Care Act, 42

U.S.C. § 18116; the Medicaid Act’s Early and Periodic Screening, Diagnostic, and Treatment

provisions, 42 U.S.C. §§ 1396a(a)(10)(A), 1396a(a)(43)(C), 1396d(a)(4)(B), and 1396d(r)

(“EPSDT Requirements”); and the Medicaid Act’s requirement that Defendants provide

comparable coverage to every Medicaid beneficiary, 42 U.S.C. § 1396a(a)(10)(B)(i)

(“Comparability Requirements”).

       Defendants Jason Weida, in his official capacity as Interim Secretary of the Florida Agency

for Health Care Administration, and the Florida Agency for Health Care Administration

(“AHCA”), have propounded third-party subpoenas on nearly two dozen nonparty professional

medical and mental health organizations that have criticized the Challenged Exclusion as longtime

supporters of the provision and coverage of medically necessary health care for gender dysphoria.

       Eighteen of these groups have filed the instant motion to quash, and Defendants have

opposed it by making misrepresentations about Amici’s theory of the case. Amici now provide the

Court with their perspective to fully inform the Court’s decision on the Motion to Quash, which

Amici agree should be granted.




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                                           ARGUMENT

       I.      AMICI’S THEORY OF THE CASE IS NOT SOLELY DEPENDENT ON
               THE NON-PARTY GROUPS’ VIEWS.

       The court in the underlying case has stated that “the controlling substantive issue” in the

case is “whether [the] treatments at issue are experimental.” Order Denying Motion for Rule 35

Examinations, Dekker v. Weida, Case No. 4:22-cv-325-RH-MAF (N.D. Fla. Jan. 17, 2023) (Dkt.

No. 80). Whether a treatment is experimental for purposes of Florida Medicaid coverage is

principally governed by Fla. Admin. Code R. 59G-1.035(4), which states, in relevant part:

       To determine whether the health service is consistent with generally accepted
       medical standards, the Agency shall consider the following factors:

            (a) Evidence-based clinical practice guidelines.
            (b) Published reports and articles in the authoritative medical and scientific
       literature related to the health service (published in peer-reviewed scientific
       literature generally recognized by the relevant medical community or practitioner
       specialty associations).
            (c) Effectiveness of the health service in improving the individual’s prognosis
       or health outcomes.
            (d) Utilization trends.
            (e) Coverage policies by other creditable insurance payor sources.
            (f) Recommendations or assessments by clinical or technical experts on the
       subject or field.

       Amici’s arguments and theory of the case are not dependent solely on the non-party groups’

views regarding the provision and coverage of medical care for the treatment of gender dysphoria.

To the contrary, Amici intend to prove that each of the factors outlined Fla. Admin. Code R. 59G-

1.035(4) supports coverage of this care. Amici further intend to demonstrate through expert

testimony that the medical and scientific literature supports their position that medical care for the

treatment of gender dysphoria is medically necessary, safe, effective, and not experimental or

investigational. In addition, Plaintiffs will demonstrate that utilization trends and coverage

policies by other creditable insurance payor sources show that medical care for the treatment of

gender dysphoria is consistent with generally accepted professional medical standards.


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       What is more, while it is true that the Endocrine Society’s and WPATH’s clinical practice

guidelines are relevant to this inquiry, these guidelines, which are peer-reviewed scientific

publications, speak for themselves. How the guidelines were developed, and the inner workings

of these Non-party Groups are irrelevant to “the controlling substantive issue” in the case. Notably,

Defendants’ assessment of these treatments pursuant to Fla. Admin. Code R. 59G-1.035(4) does

not account for the information that Defendants now seek from the Non-Party Groups, which

makes the information all the more not relevant.

       In sum, it is incorrect for Defendants to present to this Court that the views of the Non-

party Groups are the linchpin of Amici’s case or that Amici’s case turns on how the Non-party

Groups developed their views.

       II.     DEFENDANTS’ CONDUCT IN DISCOVERY UNDERMINES THEIR
               ARGUMENTS.

       In discovery, the Florida Department of Health and the Florida Surgeon General, who are

represented by the same counsel as Defendants, have resisted all discovery thus far in large part

based on their non-party status, notwithstanding their role in the development of the Challenged

Exclusion. Specifically, on April 20, 2022, the Florida Department of Health and the Florida

Surgeon General issued guidance on the “Treatment of Gender Dysphoria in Children and

Adolescents” in direct response to the U.S. Department of Health & Human Services Guidance,

Gender-Affirming Care and Young People (March 2022). This prompted AHCA to exclude

Medicaid coverage of medically necessary treatment for gender dysphoria. See Treatment of

Gender Dysphoria for Children and Adults, FLORIDA DEP’T HEALTH (April 20, 2022),

https://perma.cc/W33H-6P5Q; Letter from AHCA Secretary Marstiller to Deputy Secretary

Wallace (April 20, 2022), https://perma.cc/YS7S-DFAX (requesting a review of the treatments

referenced in the FDOH Guidance).



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       What is more, Defendants themselves have resisted any discovery into their policies, views,

and procedures relating to coverage of treatments for gender dysphoria prior to January 1, 2022,

which has necessitated a motion to compel before the underlying court. See Plaintiffs’ Motion to

Compel Production of Documents and for Expedited Briefing and Ruling, Dekker v. Weida, Case

No. 4:22-cv-325-RH-MAF (N.D. Fla. filed Jan. 20, 2023) (Dkt. No. 81). The Motion to Compel

is set for hearing on January 26, 2023.

       In sum, given Defendants’ own narrow view of the discovery that is appropriate in this

case, one cannot comprehend how the discovery they have propounded on non-parties is relevant,

let alone proportionate to the needs of this case.

                                          CONCLUSION

       Amici hope that with this more complete picture, the Court may better assess the merits of

the Nonparty Groups’ Joint Motion to Quash, which Amici Plaintiffs agree should be granted.


Respectfully submitted this 25th day of January, 2023.



                                                         /s/ Gary J. Shaw
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